70 F.3d 1281
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.William A. ROBERTS, Defendant-Appellant.
    No. 95-15891.
    United States Court of Appeals, Ninth Circuit.
    Submitted Nov. 20, 1995.*Decided Nov. 22, 1995.
    
      Before:  PREGERSON, NORRIS and REINHARDT, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      William A. Roberts, a federal prisoner, appeals pro se the district court's denial of his 28 U.S.C. Sec. 2255 motion challenging his criminal conviction on double jeopardy grounds.  We have jurisdiction pursuant to 28 U.S.C. Sec. 2255, and we affirm.
    
    
      3
      Roberts contends that his criminal conviction violated the Double Jeopardy Clause because he had already been subjected to punishment for the same conduct through the government's uncontested administrative forfeiture proceedings.  This contention is foreclosed by United States v. Cretacci, 62 F.3d 307 (9th Cir.1995), in which we held that the administrative forfeiture of unclaimed property does not constitute punishment for purposes of the Double Jeopardy Clause.
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    